EXHIBIT 7

[REDACTED]
                       Exhibit A




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 1                      UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
 2
      ________________________________X
 3                                                :
      JOHNNY M. HUNT                              :
 4                                                :
                      Plaintiff                   :
 5                                                :        CASE NUMBER:
      vs.                                         :
 6                                                :        3:23-CV-00243
      SOUTHERN BAPTIST CONVENTION,                :
 7    GUIDEPOST SOLUTIONS, LLC, and               :
      EXECUTIVE COMMITTEE OF THE                  :
 8    SOUTHERN BAPTIST CONVENTION                 :
                                                  :
 9                    Defendants                  :
                                                  :
10    ________________________________X
11
12
13                    The video-taped Zoom teleconferenced
14    deposition of JULIA MYERS WOOD was held on Thursday,
15    February 15, 2024, commencing at 9:04 A.M., at
16    virtual location before Louisa B. McIntire-Brooks,
17    Notary Public.
18
19    Also present:       Orson Braithwaite, Official
20    Videographer, Johnny M. Hunt, plaintiff
21    REPORTED BY:       Louisa B. McIntire-Brooks

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     1 representatives?                                                 1      A.    Yes.
     2     A.     Yes.                                                  2      Q.    At the time this report was issued, did you
     3     Q.     How many board representatives do they                3 get any congratulatory texts from any of the board
     4 have?                                                            4 members?
     5     A.     Two.                                                  5      A.    I don't recall.
     6     Q.     Two? Who else is on the board?                        6      Q.    Who else did you get texts from? We have a
     7     A.     Kevin Keene and Bart Schwartz and Anthony             7 screenshot or two of a text from you, congratulatory in
     8 Collura.                                                         8 nature, but we don't have all your texts yet, we're
     9     Q.     How do you spell Mr. Collura's name?                  9 awaiting a court ruling. Who else did you get texts
    10     A.     C-O-L-L-U-R-A.                                       10 from associated with this report?
    11     Q.     Is your chief legal officer?                         11      A.    I don't recall.
    12     A.     Yes.                                                 12      Q.    Did you text your investigatory team from
    13     Q.     And chief operating officer?                         13 time to time about the report?
    14     A.     Yes, and me.                                         14      A.    I don't recall specifically.
    15     Q.     And you? What are the names of the                   15      Q.    Do you recall generally doing texting on
    16 Carriage House representatives?                                 16 the reports at some point?
    17     A.     It's Kevin Keen and Anthony Collura are              17      A.    After the report was published?
    18 really representing them.                                       18      Q.    Before.
    19     Q.     So you have a total of four board members?           19      A.    Yes.
    20     A.     Yes. I would like to follow-up with                  20      Q.    How frequently would you text about the
    21 additional information on that, yes.                            21 contents of this report?
                                                            Page 227                                                                Page 229
     1      Q.     You don't know of any additional board               1     A.    Before the report was published?
     2 members?                                                         2     Q.    Before the report was issued.
     3      A.     No, I think that's -- the Carriage House             3     A.    It depends on the time period.
     4 representatives are Kevin Keen and Anthony Collura.              4     Q.    Would you text, generally speaking, with
     5      Q.     So you only have four board members, is              5 the senior investigatory team from time to time, text
     6 that what you're testifying to?                                  6 with them on information and issues pertaining to the
     7      A.     Yes, that's my recollection.                         7 report?
     8      Q.     How do you have -- what happens in a case            8     A.    Not usually. By senior investigative team,
     9 of a two to two tie?                                             9 you mean Samantha and Russ or do you mean other people?
   10       A.     I'll need to double check. Sorry about              10     Q.    Yes.
   11 that.                                                            11     A.    Okay. Not usually, so as they would text
   12       Q.     How often does your board meet?                     12 me, I wouldn't really be texting -- I wouldn't initiate
   13       A.     It meets on occasion when needed.                   13 a text.
   14       Q.     Quarterly?                                          14     Q.    You would respond to their texts?
   15       A.     No, as needed.                                      15     A.    Usually.
   16       Q.     Do you have annual meetings?                        16     Q.    These responses would be information
   17       A.     Yes, we meet annually or by e-mail.                 17 pertaining to the report specifically in some cases?
   18       Q.     So you said SolutionPoint International is          18     A.    They worked on multiple matters.
   19 the owner of your company?                                       19     Q.    Including this one?
   20       A.     Yes.                                                20     A.    Yes.
   21       Q.     And are they a hundred percent owner?               21     Q.    You would text from time to time on this

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     1 matter, this report involving Pastor Johnny Hunt?                  1 report. Agreed?
     2      A.   My recollection is they would text me                    2           MR. KLEIN: Objection.
     3 occasionally on the Johnny Hunt specific matter.                   3      Q.    Her response of, "I'll try to keep up," do
     4      Q.   You would from time to time text them back?              4 you remember that?
     5      A.   Yes.                                                     5           MR. KLEIN: Objection, asked and answered.
     6      Q.   Now, when you text people, in your ordinary              6           MR. MACGILL: My mistake. Give me a
     7 course of business on matters such as Pastor Johnny                7 second.
     8 Hunt, would you text, generally speaking, on the same              8      Q.    Ma'am, I want to go back to Exhibits 7 and
     9 day or would it be a day or so response?                           9 8 and I want to contrast what's in your investigatory
    10      A.   It depends.                                             10 file with what is in the report. There is, in your
    11      Q.   Did you text with Krista Tongring                       11 file, the Womacks had told your investigators and your
    12 associated with this particular report?                           12 company that Johnny Hunt had said he was going for a
    13      A.   The report pertaining to Johnny Hunt or the             13 jog and Alisa asked him if she could join. Do you
    14 report overall?                                                   14 recall that? That being reported to you by Alisa
    15      Q.   Generally. The report?                                  15 Womack?
    16      A.   Yes.                                                    16      A.    Nothing was reported to me. I defer to the
    17      Q.   You texted with Sunny Lee as well on this               17 investigators as what was reported to them.
    18 report that's at issue in this case; right?                       18      Q.    And that was reported to the investigators?
    19      A.   I don't recall that, but I have no reason               19      A.    I defer to the investigators of what they
    20 to dispute it.                                                    20 said and what the investigative files said.
    21      Q.   Christina Bischoff, you texted with her on              21      Q.    Did you have personal knowledge of this
                                                              Page 231                                                              Page 233
     1 this report as well; right?                                        1 before the report was issued?
     2      A.   I don't recall that, but I have no reason                2      A.    Personal knowledge, no.
     3 to dispute it.                                                     3      Q.    Did you have knowledge that this has been
     4      Q.   Again, Bruce Frank, you texted with him                  4 reported to your investigators?
     5 occasionally with respect to this report?                          5      A.    I had some awareness. A jog sounds
     6      A.   Yes.                                                     6 familiar, but I don't have any specific recollection so
     7      Q.   Now, ma'am, I want to go back to comparing,              7 I'm not able to answer any specific questions on that
     8 I want to go back to your report and comparing, again,             8 piece.
     9 in another way the information that, this issue of                 9      Q.    So you don't have any -- make sure, I want
    10 reciprocation. We talked about that. What does                    10 to be exact on this. You don't know from your own file
    11 reciprocation mean to you or what did it mean to you at           11 that in the Guidepost file there is a reference to "on
    12 the time you reviewed and approved this report?                   12 Tuesday morning," referring to Pastor Johnny Hunt, "he
    13      A.   I don't recall thinking specifically about              13 said he was going for a jog and Alisa asked if she
    14 the reciprocation line at the time I reviewed the                 14 could join." You don't recall any such information in
    15 report.                                                           15 the file of Guidepost?
    16      Q.   But in any event, what your report said                 16      A.    I have not seen the file of Guidepost so
    17 "survivor did not reciprocate"; right, you've seen that           17 I'm not able to speak to what is in there.
    18 with your own eyes this morning or this afternoon?                18      Q.    Well, you have seen some of the materials
    19      A.   Yes, that's correct.                                    19 in the files; right?
    20      Q.   And then Alisa Womack's response, that we               20      A.    Yes.
    21 have covered before, was not included at all in the               21      Q.    But you don't recall that specific report

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